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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                               CASE NO. CR20-0114-JCC
10                             Plaintiff,                    ORDER
11          v.

12   McKENNA DANILO BERNARDO,

13                             Defendant.
14

15          This matter comes before the Court on Defendant McKenna Bernardo’s unopposed
16   motion to continue the trial and pretrial deadlines (Dkt. No. 23). Having thoroughly considered
17   the motion and the relevant record and finding good cause, the Court GRANTS the motion.
18          The Government has charged Mr. Bernardo with possession of child pornography. (See
19   generally Dkt. Nos. 1, 13.) Mr. Bernardo made his initial appearance on June 1, 2020, (Dkt. No.
20   6), was indicted on August 6, 2020, (Dkt. No. 13), and was arraigned on August 27, 2020, (Dkt.
21   No. 22). Trial is currently scheduled for October 26, 2020 and the pretrial motions deadline is
22   September 17, 2020. (See Dkt. No. 22.) Mr. Bernardo now moves to continue the trial until April
23   26, 2021 and the pretrial motions deadline until March 22, 2021. (See Dkt. No. 23 at 1.)
24          Mr. Bernardo argues that a continuance is necessary for two reasons. First, Mr. Bernardo
25   needs additional time to complete his investigation and to determine whether he will proceed to
26   trial. (See Dkt. No. 23 at 2.) Second, “a long continuance is warranted” because of the COVID-


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 1   19 pandemic’s impact on the Court. (Id.) Accordingly, Mr. Bernardo requests that the Court

 2   continue the trial until April 26, 2021 and the pretrial motions deadlines until March 22, 2021,

 3   and order that the time between the date of the Court’s order and the new trial date is excluded

 4   under the Speedy Trial Act, 18 U.S.C. § 3161. The Government does not oppose Mr. Bernardo’s

 5   motion. (See Dkt. No. 23 at 1.)

 6          The Court must analyze Mr. Bernardo’s motion in the context in which it arises. Over the

 7   past six months, the COVID-19 pandemic has significantly impacted the Court’s operations. (See

 8   General Orders 01-20, 02-20, 07-20, 08-20, 11-20, 13-20, each of which the Court incorporates
 9   by reference.) Specifically, the pandemic has rendered the Court unable to obtain an adequate
10   spectrum of jurors to represent a fair cross section of the community, and public health guidance
11   has impacted the ability of jurors, witnesses, counsel, and Court staff to be present in the
12   courtroom. (See generally id.)
13          Having thoroughly considered the briefing and the relevant record, the Court FINDS that
14   the ends of justice served by granting a continuance outweigh the best interests of Mr. Bernardo
15   and the public to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this finding are:
16          1. The COVID-19 pandemic has rendered the Court unable to obtain an adequate
17              spectrum of jurors to represent a fair cross section of the community, which would
18              likely make proceeding on the current case schedule impossible or would result in a

19              miscarriage of justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

20          2. Public health guidance has impacted the ability of jurors, witnesses, counsel, and

21              Court staff to be present in the courtroom. Therefore, proceeding with the current trial

22              date would likely be impossible. See 18 U.S.C. § 3161(h)(7)(B)(i).

23          3. Mr. Bernardo needs additional time to complete his investigation and determine

24              whether to proceed to trial. Therefore, the failure to grant a continuance would deny

25              Mr. Bernardo’s counsel reasonable time necessary for effective preparation. See 18

26              U.S.C. § 3161(h)(7)(B)(iv).


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 1   Accordingly, the Court ORDERS:

 2         1. The October 26, 2020 trial is CONTINUED until April 26, 2021.

 3         2. The September 17, 2020 pretrial motions deadline is CONTINUED until March 22,

 4             2021.

 5         3. The period from the date of this order until April 26, 2021 is an excludable time

 6             period under 18 U.S.C. § 3161(h)(7)(A).

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 8         DATED this 23rd day of September 2020.




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                                                         John C. Coughenour
12                                                       UNITED STATES DISTRICT JUDGE
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